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                          UNITED STATES DiSTRICT COURT
                           NORTHERN DISTRICT OF TEXAS
                               LUBBOCK DIVISION

CLINT LONG, individually and       as next
{iiend of C.L.,

       Plaintiff,

                                                           No. 5:21-CV-111-H

JAYTON.GIRARD INDEPENDENT
SCHOOL DISTRICT,

       Defendant.

         ORDER DE            G CLAIMS FOR INJUNCTII'E                     AS MOOT

       This case arises out of a dispute over a school district's mask policy implemented in

response to COVID-19. In March 2021, Clint Long attempted to bring his unmasked child,

C.L. to school at the Jayton-Girard Independent School District ("JGISD"). Because C.L.

was unmasked, he was refused entry. Months later, Long sued JGISD along with its

principal and a former superintendent both individually and as next friend of C.L. Shortly

after the lawsuit was filed, JGISD stopped requiring masks in rts schools. As a result, the

Court ordered the parties to file briefs addressing whether Long's claims are moot. Both

panies filed briefs.

        The Court dismisses the claims for injunctive relief in this case as moot because the

complained-of policy is no longer in opelation, and in light ofa state-wide order, the school

district could not re-implement the policy even if it wanted to do so. Long argues that the

"capable ofrepetition, yet evading review" and "voluntary cessation" exceptions to the

mootness doctrine apply, but the lack of a reasonable possibility that JGISD could reinstate

the mask mandate forecloses both exceptions. However, Long's claims for damages due to
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JGISD's refusal to        a11ow   C.L. entry while unmasked are not moot. Thus, the Court does

not dismiss those claims.

1.     Factual and Procedural Background

       In response to the COVID-19 pandemic, Govemor Abbott issued Executive Order

GA-29 in JuIy of 2020, which stated that "[e]very person in Texas shall wear a face covering

over the nose and mouth when inside a . . . space open to the public." Dkt. No. 10-1 at 6.

After this order was issued, JGISD sent the "JGISD 2020-2021Reopening P1an" ("Mask

Policy") to the parents of all enrolled children. Dkt. No.        16"11   12. The plan stated that

" [f]acu1ty, staff, and students are required      to wear a face covering when entering and exiting

the building . . .   ."   Dkt. No. i0-2 at   17.


        On March 2,2021, Governor Abbott issued Executive Order GA-34, stating that "in

all counffies not in an area with high hospitalizations [,] . . . there are no COVID-1g-related

operating limits for any business or other establishment [and]. . . no person may be required

by any jurisdiction to wear or to mandate the wearing of a lace covering.           "   Dkt. No. 16 at

62. However, this executive order also stated that " [p]ublic schools may operate            as


provided by, and under the minimum standard health protocols found in, guidance issued

by the Texas Education Agen cy ." Id. at 63. The "SY 20-21 Public Health Planning

Guidance," issued on March 25 by the TEA, states "[e]very student, teacher, or staff

member shall wear a mask . . . when insrde a school building . . . wherever it is not feasible

to marntain . . . social distancing." Dkt. No, l0-2 at35.

        On March          lt,2O2l, Long took C.L. to JGISD without         a mask. Id. nn25-26.      C'L'

was refused entry by JGISD official, Lyle Lackey, because he was not weaing a mask. Id.

        Almost two months after this event, Long f,led an Original Petition in the 39th

District Court of Kent County, Texas against JGISD, former superintendent Johnny Tubb,

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and Lyle Lackey. Dkt. No. 1 at 1. Long sought a temporary restraining order, a temporary

injunction, and   a permanent    injunction to prevent the school district's mask policy fiom

being enforced. Dkt. No. 1 3 !l!l 107-23. Long claimed the delendants violated the Texas

Open Meetings Act, the 14th Amendment, the Texas Constitution, and the Texas Family

Code. Id. flfl 6+106. He also brought a claim for a declaratory judgement that Tubb and

Lackey had committed an ubra vires action. Id, Defendants jointly removed to federal court

on May   lI,   2021,. Dkt. No. 7 at ).-2.

       The partres agree that on May 14,2021mask wearing at JGISD schools became

voiuntary. Dkt. No. 9 at1;Dkt. No.          12   !l 10. The parties also    agree that on   May 18,2021

Govemor Abbott issued Executrve Order GA-36, which prevented schools from requiring

face coverings stafiing on J:;ne 5,2021. Dkt. No. 10 at 16; Dkt. No. 12 tl 12.

       The Court then ordered both partres to f,le jurisdictional briefing addressing the

existence of a case or conftoversy. Dkt. No.         7   .   Long fi1ed the jurhdictional briefing

requested by the Court, and defendants responded. Dkt. No. 12                  Dkl No. 13. The
jurisdictional issue has been fully briefed and is ripe for review.

       After the parties fi1ed their briefing, Long fi.led an amended complaint that asserts

claims against JGISD for violating the Texas Open Meetings Act and the Fourteenth

Amendment pursuant to 42 U.S.C. $ i983 and dismisses his claims against Johnny Tubb

and Lyle Lackey. Dkt. No. 16. In the amended complaint, Long continues to request a

temporary and permanent injunction and also requests actual damages, general damages,

and nominal damages. Id.

2,     Legal Standard

        "Under Article    IIL   . , federal courts may adjudicate only actual, ongoing cases or

controversies. To invoke the jurisdiction of a federal couft, a iitigant must have suffered, or


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be threatened with, an actual injury traceable to the defendant and likely to be redressed by

a favorable      judicial decision . . . ." Lewis v. Cont'l Bank Corp., 494U.S. 472, 477 (1990)

(citations omitted). "Past exposure to illegal conduct does not in itselfshow a present case

or conffoversy       r   egarding rnjunctive          relief.   . . ifunaccompanied by any continuing, present

adverse effects." steelCo.v.CitizensforaBetterEnr't,523U.S.83, 109 (1998) (quoting

O'Shea r,.   Linleton,414 U.S. 488, 495-96 (1974)). For there to be a case or controversy,

"[t]he parties must continue to have a'personal stake in the outcome' of the lawsuit . . . ."

Lewis, 494 U.S. at 478 (quoting City of Los Angeles t. Lyons,461 U.S. 95, 101 (1983).

        If   a   plaintiff     ceases   to have   a   personal stake in a lawsuit's result, the action becomes

moot.   Genesis Healthcare Corp. v. Symczyk,569                    U.S. 66,72 (2013). "[M]oomess has two

aspects: 'when the issues presented are no longer "1ive" or the parties lack a legally

cognizabie interest in the outcome."' U.S. Parole Comm'n v. Geraghty,445 U.S. 388, 396

(1980) (quotrng Powell v. McCormack,395 U.S. 486,496 (1969)).                         "A   case becomes   moot,

however, 'on1y when it is impossible for a court to grant any effectual reliefwhatever to the

prevailing party         ."'   Campbelt-Ewald Co. v. Gomez, 577           U.S 153, 160-61' (2016) ' as tevised

(Feb. 9, 2016) (q,toingKnoxt,. Sens. Emps.,567 U S. 298,307 (2012)). Anv concrete

interest in the result, no matter how sma11, is enough to avoid mootness                      . Id. (quotng   Chafn

r. Chafn,568 U.S.              1.65, 172 (2013)).


        The party asserting jurisdiction bears the burden ofprooffor a 12(b)(1) motion to

dismiss and must prove jurisdiction exists by a preponderance ofthe evidence. Ballew                          v.



Cont'l Airlines, .nc.,668F.3d777,781 (5th Cn.2012) (citations omitted).                        A 12(b)(i) motion

should be granted only if the parry asselting julisdiction "cannot plove any set offacts in

support of his claim that would entitle him to re1ief." Home Builders Ass'n of Miss , Inc. v. City



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of Madison,   Mks,   143   F.3d 1006, 1010 (5th Cir. 1998) (foornote omitted) (cirrng Benton                   v.


Unted States, 960    F   .2d 19, 21 (sth Cn. 1992)). " [A] dismissal on jurisdictional grounds

alone is not on the merits and permits the plaintiffto pursue his claim in the same or in

another forum.   "   Hitt t. City of Pasadena, 567 F.2d 606, 608 (5th Cv.            197 7).


3.      The claims for injunctive relief are moot.

        A.      Long's requests for i4junctive relief are moot because the mask order is no
                Ionger in place.

        Because JGISD's mask mandate is no longer rn effect, any injunctive relief issued by

this Court would not provide any relief not already provided by JGISD's repeal of its mask

mandate. Because " [m]ootness applies when intervening circumstances render the court no

longer capable of providing meaningful relief to the plaintiff, " it follows that "a case

challenging a statute, executive order, or 1oca1 ordinance usualiy becomes moot if the

challenged 1aw has expired or been repealed." Ctr. for Biological Dittersity, Inc. v. BP Am. Prod.

Co., 704 F.3d   4i3, 425 (sth Cir. 2013); Spell r. Edwards, 962 F .3d          17   5, 179 (5th Cr. 2020).

"A   case becomes    moot . . . 'on1y when it is impossible for       a   court to grant any effectual relief

what[so]ever to the plevailing        pafiy."'   Campbell-Ewald,577 U.S. at 760 61 (qu.oting Knor                    v.


Sens. Emps.,567 U.S. 298,307 (2012)). Therefore,               "[o]nce [a] law is offthe books, there               is

nothing injuring the plaintiffand, consequently, nothing for the court to do." Spell,962

F.3d at 179 (citing      N.I   State Rifle & Pistol Ass'n, Inc. t,. City of New York,   I40 S. Ct. 1525,

ts26 (2020)).

        It follows that claims lor injunctive relief are dismissed as moot when                     a complained-

of 1aw is no longer in force. For exampie, the Supreme Court held that a lawsuit seeking an

injunction against    a   New York frearmlicensing statute was moot because New York

amended the rule to grant "the precise relief that petitioners requested . . .                 ."   N.Y. State Rifle,


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140 S. Ct. at 1526.t Similarly, the       Fifth Circuit vacated a preliminary injunction resffaining

a   law as moot when Texas amended the starute to exempt the parties challenging the law

from its provisions. Amawiv. Paxton,956 F.3d816,819(5th Cn.2020). In Spell, a pastor

sued for an injunction to prevent the enforcement of stay-at-home orders issued by the

govemor of Louisiana. Spell,962F.3dat177-78. The Fifth Circuit dismissed the lawsuit as

moot because the complained-of "orders [had] expred by their own terms.              "    1d.   at 180.

            In the present case, no meaningful injunctive reliefcan be provided to Long because

the complained-of policy, the mask mandate, is no longer in operation and cannot be

reinstated. The parties agree that mask wearing at JGISD schools is now voluntary. Dkt.

No. 9 at 7; Dkt. No.       12   fl 10. The parties also agee that Governor Abbott issued an

executive order to prevent schools from requiring face coverings starting on             J]ux,e 5 ,   2027.

Dkt. No. 10 at 16; Dkt. No. 12'll 12. Because the policy is no longer in operation, there                 is


nothing the Court could prevent or resffain via an order. Thus, the Court finds that Long's

requests for injunctive relief are moot.2 Campbell-Ewald, 577 U.S. at 160-61.




I        Dffinderfer r. Cent. Baptist Church of Miami, Fla., lnc.,404 U.S. 412,41+L5 (1'972) (per
    See also
curiam) (concluding   that a declaratory judgment finding a law unconstitutional 1s inappropliate
when the complained-of statute "has been repealed").
z   See             F.3d at 179 (finding rcquested injunctivc rclief moot whcn a challenged
          also Spell,962
COVID-19 restriction had already becn lifted)1 In re Greg Abbott, in his Official Capaciry as Govetnor of
the State ofTexas, No. 2i-0720, slip op, !l 2 (Tex. Aug. 26,2021), available at htlps:/ /search.txcourts
govlSearchMedia.aspx?MediaversionlD=f695 3 7ef-cd41-46d'1-a451-421201955c6a&coa=cossup&
nr=STAyy"ZOORDER%20lSSUED&MedialD=46ddfec0-7bd9-455c-8521-9dcb86fb4b0e                           (staying
a trial court's temporary restraining order enjoining  enforcement  of Governor    Abbott's  executive
order banning mask mandatcs and leaving the authority to decrde what the Texas government's
position on mask mandates will be to Governor Abbott)


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           B,     The "capable ofrepetition yet evading review" mootness exception does
                  not apply.
           Long does not argue that his claims are not moot. Dkt No. l2 at 1. Instead, Long

argues that the Court has jurisdiction by immediately ruming to the exceptions to the

mootness docnine.        Id. But Longhas not met his burden of showing that there is more than

a theoretical possrbility that JGISD          wrll reinstate its mask policy. Therefore, the "capable of

repetition yet evading review" moomess exception does not apply.

           A court may   have   jurisdictron over a moot claim if the "capable ofrepetition, yet

evading review" mootness exception applies. Kingdomware Techs., Inc. v, United Stares, 136 S.

Ct. 1969,1976(2016) (quoting Spencert.Kemna,523 U.S. 1, 17 (1998)). "Thisexception

overcomes the general rule agarnst deciding stale claims only if: (1) 'the challenged action

[is] in its duration too short to be fu11y litigated prior to cessation or expration,' and (2)

'there [is] a reasonable expectation that the [plaintitrs] [wi11] be subject to the same actlon

again."'     Spell, 962 F.3d at 180 (additions in original) (quoting Kingdomware, L36 S. Ct. at

1976). Furthermore, this exception only applies "in exceptional situations." Lyons,467

U.S. at 109 (citrng DeFunis v. Odegaard,416 U.S. 312,319 (1974)). The party that alleges

that this exception applies bears the burden of showing that it does apply. Empower Texans,

Inc.   t   Geren,977 F.3d 367,370 (5th Cir. 2020) (citing Spell,962 F.3d at 180).

           To meet the second prong of the "capable ofrepetition yet evading review"

exception, "the paffy invoking jurisdiction must show a 'demonstrated probabtlity' or

'reasonable expectation,' not merely a 'theoretical possibility,' that rt will be subject to the

same government action.         "   Lopez   t. city   of Houston, 617 F.3d 336, 340 (5th Cir. 2010)

(quoting Liberaian Party r. Dardenne,595 F.3d 215, 217 (5th Cir. 2010). "fMlerely

showing that the govemment            will 'have an opportunity to act in the same allegedly unlawful


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manner in the future' is not enough to satisry the second prong of the exception without a

reasonable expectation that the govemment will acl in that manner." Id. at341 (quotilg

Dardenne,595 F.3d      at2l7). A party can satisfu this prong by providing evidence showing

that the opposing parry's "actions reflect a policy or a consistent pattem ofbehavior that [it]

has determined to continue, or that [the] action was prescribed by statute . . .       ."   Dardenne,

595 F.3d at 218 (foomote omitted).

       Applying these ru1es, the Fifth Crcuit has held that the mere possibility of

COVID-l9 worsening or COVID-l9 policies being re-imposed is insufficient to satist/ the

"reasonable expectation" requrement of the second prong.            See   Spell,962F.3d at 180. In

Spell, a pastot challenged Louisiana's stay-at-home orders and requested injunctive            reliefto

stop enforcement ofthose orders. Id. at 178. The Fifth Circuit, considering whether the

pastor's claims were moot, obserrred that "ltlhe trend in Louisiana has been to reopen the

state. not to close it down" and that "no one knows what the future of COViD-19 ho1ds."

Id. As a result,   the Fifth Circuit held that   "it [was] speculative,   at best, that the Govemor

might reimpose the ten-person restriction or a similar one." Id.

       Here, Long fails to carry his burden of showrng a "reasonabie expectation" and not a

"theoretical possibiliry" that the mask policy wil1 be re-implemented. l,opez,671 F.3d at

340. Long argues that other COVID-19 stralns could emerge and cause a re-

implementation of the mask policy, flu outbreaks routinely occut, and COVID-19

lockdowns have fluctuated in stringency. Dkt. No.          rcn73-77.      These arguments fail under

Spelt, whtch found the risk of future imposition of new COVID-19 restrictions "speculative,

at best," even though    "no one knows what the future of COVID-19 holds." Spell,962F'3d

at 180. Moreover, just as in Spell, statewide policy in Texas is tilted towards reopening



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schools and not mandating masks. Coffipare GA-29, Dkt.         No.   10-1 at   4-8, with GA-34, Dkt.

No.     10-2 ar 22-26, and GA-36,   Dkt. No. 10-2 at 4245.

          Long also argues that "there [is] no reason why JGISD cannot again adopt a

compulsory mask policy . . . for the next reason of its own choosing." Dkt. No. 16 tl 79.

This is untrue under the current scheme ofexecutive orders in Texas.3 And even if the

executive orders are discounted, Long presents no proofor evidence to demonsrrate a

"reasonable expectation" that the school district here would implement such a policy.            See


Dardenne,595 F.3d at 218. Because Long failed to carry his burden of demonstrating that a

"reasonable expectation" ol re-implementation of the mask policy exists, the Court finds

that the "capable ofrepetition, yet evading review" exception does not apply.

          C.     The t'voluntary cessation" mootness exception does not apply.

          Because Govemor Abbott's orders prevent JGISD ftom re-implementing its mask

policy, the "voluntary cessation" mootness exception does not apply. "[A] defendant

cannot automatically moot a case simply by ending its unlawful conduct once sued."

Already, LLC r. Nike, Inc., 568 U.S. 85, 91 (2013) (citing City of Mesquite v. Aladdin's Castle,

lnc.,   455 U.S. 283, 289   (1952)). "Otherwise, a defendant could engage in unlawful conduct,

stop when sued to have the case declared moot, then pick up where he left off, repeating this



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  Executive order GA-34 states that " [p]ublic schools may operate as provided by, and under the
minimum standard health protocols lound in, guidancc rssued by the Texas Education Agency."
Dk. No. lO-2 at25, Executive order GA-36 states that "[t]he Texas Education Agency shall revise
its guidance such that, effectivc I 1 :59 p.m. on June 4, 2021 , no student, tcacher, parent, or other
staffmember or visitor may be required to wear a face covering." Dkt. No 10'2 at 44 And
recently, Governor Abbott issued Exccutive order GA-38, which states that "[n]o govemmental
entity,includinga...schooldistrict,...andnogovernmentaloffrcialmayrequireanypersonto
weai a face coviring or to mandate that another person weal a face covering. " Tex. Exec. Order
No. GA-38 (July 29,2021),https: / / gov.texas.gov./uploads/files/press/Eo-GA-38 continued-
response_ro_thi_COVID-19 disaster IMAGE -07 -29-202l.pdf . Under Texas law "[e]xecutive
o.d..r . . . hive the force and effect of 1aw." Tex. Gov't Code Ann. $ 418.012. Thus, a mask policy
cannot be re-implemented by JG1SD.


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cycle until he achieves all his unlawful ends."     Id. Consequently, "when a defendant       has


taken voluntary measures . . . because it is facing litigation but could otherwise revett to the

offending conduct once litigation has ended, the defendant must bear the healy burden of

showing the impossibility of that result in order to prove mootness." Ctr. for Biological

Diversity, Inc., 704F .3d at 425.

       This exception often applies in cases irvolving city ordinances and other local laws

because they can be easily re-passed after being repealed in response to        litigation. For

example, in an action for declaratory and injunctive relief against provisions of a city

ordinance, the Supreme Court ruled that the case was not moot even though the

complained-of law had been amended. Aladdin's Castle,455 U.S. at 288-89. The Supreme

Court stated that "[i]n this case the city's repeal ofthe objectionable language would not

preclude it from reenacting precisely the same provision if the District Court's judgment

were vacated," especially because the city had "followed that course . . . in obvious response

to the state court's judgment." 1d Thus, the mere fact that a restriction was repealed is not

enough for a defendant to avoid the "voluntary cessation" exception to mootness.

        "[T]he standard . . . for detetmining whether a case has been mooted by the

defendant's voluntary conduct is stringent: 'A case might become moot ifsubsequent events

made it absolutely clear that the allegedly wrongful behavior could not reasonably be

expected to recur."' Friends ofthe Earth, Inc. v. Inidlaw Env't Sens (TOC), lnc.,528       US.     167,


1S9 (2000)   (quoting tlnited   States v. Concentrated Phosphate   Exp. Ass'n ,393 U.S. 199, 203

(1963). A mere statement or promise by defendants is not enough to fu1f,ll their burden.

See Concentrated   Phosphate,393 U.S. at 203 ("But here we have only appeilees' own




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statement. . . . Such a statement, standing alone, cannot suffice to sat1sry the heavy burden

ofpersuasion which . . . rests upon those in appeliees' shoes.")

            Here, however, the executive orders relating to mask policies make it "absolutely

clear that the a11eged1y wrongful behavior could not reasonably be expected to tecur."

Friends of the     Earth,528U.S. at 170. Executive order GA-34 states that " [p]ub1ic schools

may operate as provided by, and under the minimum standard health protocols found rn,

guidance issued by the Texas Educatron Agency.                 "   Dkt.No. l0-2 at25. Executive order

GA-36 states that "[t]he Texas Education Agency shall revise its guidance such that,

effective 11:59 p.m. on June 4,2021, no student, teacher, parent, or other staffmember or

visitor may be requred to wear a face covering." Dkt. No. 70-2                 at44.   Thus, Texas schools

are directed to follow the guidance of the TEA, which the govemor ordered to ban mask

requirements.a And recently, Govemor Abbott reaflirmed that command when he issued

GA-38,whichstatesthat"[n]ogovernmentalentiry,includinga...schooldistrict,...and

no governmental ofiicial may require any person to wear a face covering or to mandate that

another person wear a face covering." Tex. Exec. OrderNo. GA-38 (Ju1y 29,2021),https:

//gov.texas.gov / uploads /        fiLes / press   /EO-GA-38-contrnued-response to-the-COVID-

19-disaster-IMAGE Q7-29-202i.pdf. As a result, the Court should find that JGISD                    has


successfully fulfi11ed its burden of demonstraring the "impossibility" of the mask policy

retuming.s


a   See                             ofTetas,560 F.3d 316,325 (5th Cir. 2009), arfd sub nom.
          also Sossamon v. Lone Star State
Sossamon v. Texas,563 U.5.211 (2011) ("[Tlhe fact that the change in pollcy is now state-wide
obviates any concern that loca1 prison officials might change their minds on a whim . . .").

5It   is true that there is a factual dispute about when the JGISD Mask Policy was relaxed.    Long
alleges that JGISD changed the polcy on May 14. Dkt. No.        !T 80. JGISD,
                                                                       16        on  the  other hand,
argries that "the School Board voted to terminate the mask requirement  effecti.ve  at the  €nd ofthe
school day May 13" during the April 20 board meeting. Dkt No 13 at 6. However,            "[w]ithout


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4,       The claims for damages are not moot.

         "[C]laims for damages or other monetary relief automatically avoid mootness,        so


long as the underlying claim remains valid on its merits." de la O v. Hous. Auth. of City of El

Paso,   Tet,4l7 F.3d 495,499 (5th Cir. 2005). Long      has asserted a claim for damages. Dkt.

No. 16. To the extent that Long's claims for damages       are valid, they also are not moot.

Thus, the Court does not dismiss Long's claims for damages.

5.       Conclusion

         The Court finds that it iacks subject-mauer jurisdiction over Long's claims for

injunctive relief. First, the poliry that the Long challenges is no longer in operation.

Additionally, the "capable ofreperition yet evading review" mootness exception does not

apply because there is no reasonable expectation that the mask poliry will be re-imposed.

Moreover, the "voluntary cessation" mootness exception does not apply because it is

impossible to reasonably expect that the mask policy will retum, and it is presumed that

govemment action is not litigation posruring. Therefore, the Court dismisses Long's claims

for injunctive relief as moot. Accordingly, the Clerk is directed to terminate Long's Motion

to Set Hearing. Dkt. No. 6. Finally, in conffast to the claims for injunctive relief, Long's

claims for damages are not moot, and, as a result, the Coun does not dismiss those claims.

         So ordered on September
                                    (   , 2021


                                                                 N./d-
                                                 JAM   WESLEY HENDRIX
                                                       D STATES DISTRICT JUDGE



evidence to the contrary, wc assume that formally announced changes to official govemmental
policy are not mere litigation posturing." Sossamon,560 F.3d at 325. Long has not presented any
evidence to demonstrate that the change was litigation posturing; thus, even without the executive
orders, the "voluntary cessation" exception would not apply.


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